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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                  NO. 3:23-CR-454-X

DESI BARROGA (1)
DENO BARROGA (2)




                           BILL OF PARTICULARS
                REGARDING PROPERTY SUBJECT TO FORFEITURE
        Pursuant to Federal Rule of Criminal Procedure 32.2(a), the United States of

America, by the undersigned, particularly notices that the following property, in addition

to the property set forth in the Indictment, is subject to forfeiture on the basis of

allegations set forth in the Indictment filed in this case:

        a) $170,080.25 in Fidelity Investments Account X54-589004 in the name of Deno

            Barroga and any other appreciation or proceeds derived from this property.

        The government may file supplemental bills of particulars as additional assets are

identified and/or appraised. The government also reserves its rights to election of

remedies regarding the disposition of the subject property as provided in law.




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                                    Respectfully submitted,

                                    LEIGHA SIMONTON
                                    UNITED STATES ATTORNEY


                                    /s/ Dimitri N. Rocha
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DATED: 12/14/2023




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